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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------- x
                                         :
UMB BANK, N.A., solely in its capacity   :
as Trustee under the Contingent Value    :
Rights Agreement by and between          :
Bristol-Myers Squibb Company and         :
Equiniti Trust Company, dated as of      :
November 20, 2019,                       :
                                         :
                             Plaintiff,  :
                                         :
        v.                               :                Case No. 1:21-cv-04897 (JMF)
                                         :
                                         :
BRISTOL-MYERS SQUIBB COMPANY,
                                         :
                             Defendant.  :
                                         :
---------------------------------------- x

                 NOTICE OF MOTION TO DISMISS THE COMPLAINT

       PLEASE TAKE NOTICE that pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure defendant Bristol-Myers Squibb Company (“BMS”), by its undersigned counsel, will

and hereby does move, at the United States District Court for the Southern District of New York,

Room 1105, 40 Centre Street, New York, New York 10007, at such date and time as the Court directs,

for an order dismissing all claims asserted in the complaint filed by plaintiff UMB Bank, N.A. on

June 3, 2021 [ECF No. 1], and granting BMS such other and further relief as the Court may

deem just and proper. The Court has entered a stipulated scheduling order that governs the

deadlines for further submissions in connection with this motion [ECF No. 15].

       In support of its motion, BMS relies upon the complaint, its exhibits, the memorandum of

law that accompanies this notice, the further filings made with respect to the motion, and such

other proceedings in this action as shall bear on the matters addressed in the motion that may be

considered by the Court.
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Dated: New York, New York           DLA PIPER LLP (US)
       July 23, 2021


                                    By:     /s/ John J. Clarke, Jr.
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                                    Attorneys for Defendant
                                     Bristol-Myers Squibb Company




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                                CERTIFICATE OF SERVICE

        The undersigned certifies that he is a member of the Bar of this Court and counsel for

defendant Bristol-Myers Squibb Company in this action, and that on July 23, 2021, he caused the

foregoing notice of motion to dismiss the complaint and the accompanying memorandum of law

in support of that motion to be filed on the docket of this action using the Court’s ECF system

which will cause notice of those filings to be served electronically upon all counsel who have

appeared in the action

                                                  /s/ John J. Clarke, Jr.
                                                      John J. Clarke, Jr.




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